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                         IN THE UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF ARKANSAS
                                 HOT SPRINGS DIVISION


LARRY LOVELL, et al.                                                                    PLAINTIFF

V.                                      NO. 6:20-CV-6074

JAMES ALBERT WARD, III, et al.                                                        DEFENDANTS

                         AMENDED FINAL SCHEDULING ORDER
       This case is reset for jury trial in Hot Springs, Arkansas, at the call of the Court during the
week of September 26, 2022, beginning at 9:00 a.m. Counsel and unrepresented parties are
directed to be present at 8:00 a.m. on the date of trial unless otherwise notified.
       The following schedule will govern this case, and the parties may not amend or deviate from
it without leave of Court:
       1.      Discovery:
       (a)     Discovery must be completed no later than May 29, 2022. Depositions, including
depositions for use as evidence, must be completed prior to the discovery cutoff date.
       (b)     Except in extraordinary circumstances, problems with discovery, which are not
brought to the Court's attention in time for the opponent to make a proper response and for the Court
to make an informed ruling before the close of discovery, will be deemed waived.
       2.      Motions:
       (a)     Motions for Class Certification must be filed no later than 90 days after the Fed. R.
Civ. P. 26(f) Conference.
       (b)     Motions to amend pleadings or to join other parties must be filed no later than 60
days before the close of discovery, unless good cause is shown for delay.




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       (c)     All dispositive motions must be filed no later than 30 days after the close of
discovery. Responses must be filed no later than 14 days from the file date of the motion, and
replies, if any, no later than seven (7) days from the file date of the response.
       (d)     Motions in Limine must be filed no later than 14 days prior to trial. Responses to
these motions must be filed no later than seven (7) days from the file date of the motion.
       (e)     All other motions, including Daubert motions, must be filed no later than 28 days
prior to trial. Responses must be filed no later than 14 days from the file date of the motion. The
Court will consider a reply only if filed before issuance of a decision on the pending motion.
       3.      Page Limitations.
               Any motion, response, or brief in support must be limited to 25 double-spaced pages
of 12-point font. Parties must seek leave before filing any reply in support of a motion other than
a summary judgment motion. If allowed, replies must be limited to seven (7) double-spaced pages
of 12-point font.
       4.      Expert Disclosure:
       (a)     All parties must make initial expert witness disclosures no later than 90 days before
the close of discovery.
       (b)     Rebuttal expert witness disclosures must be made no later than 45 days before the
close of discovery.
       (c)     Depositions of expert witnesses must be completed within the time allowed for
discovery.
       5.      Jury Trials:
       (a)     Pretrial disclosures must be filed no later than 45 days before trial, and should follow
the outline contained in Local Rule 26.2, which may be found on the Court's website at
www.arwd.uscourts.gov. Objections must be filed within 14 days of the file date of the pretrial
disclosures. Consult Fed.R.Civ.P. 26(a)(3) for the type of objections which may be made and the
type of objections which will be deemed waived if not raised.
               In their pretrial disclosures, the parties must designate witnesses whose testimony is

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expected to be presented via deposition. The parties must include a transcript of the pertinent
portions of the deposition, and the specific line designations must be highlighted. Counter-
designations and objections to the initial designations are due within 14 days of the file date of the
initial designations.
        (b)     Proposed jury instructions must be exchanged by the parties and submitted to the
Court at sohinfo@arwd.uscourts.gov no later than 14 days prior to trial. Each instruction should
be accompanied by a citation to supporting authority.
        (c)     Objections to jury instructions must be exchanged by the parties and submitted to the
Court no later than seven (7) days prior to trial.
        (d)     Parties are directed to mark and exchange exhibits prior to trial and ensure that all
other parties have copies of those exhibits.
        (e)     Parties are directed to come to trial with all exhibits properly marked, identified and
with both witnesses and exhibits listed on form AO187 - Exhibit and Witness List, which may be
found on the Court's website at www.arwd.uscourts.gov under the category "Online Forms".
Exhibits are to be listed in numerical sequence with notations as to which exhibits, if any, will be
admitted by stipulation of the parties.    The Exhibit and Witness List must be delivered to the
courtroom deputy and the court reporter 24 hours prior to trial.
        (f)     Witnesses and exhibits not timely disclosed may not be used at trial except in
extraordinary circumstances.
        (g)     All civil jury trials shall be to an eight (8) person jury unless otherwise ordered by
the Court upon written request made by a party pursuant to Federal Rule of Civil Procedure 38.
        6.      Bench Trials:
        (a)     Pretrial disclosures must be filed no later than 45 days before trial, and should follow
the outline contained in Local Rule 26.2, which may be found on the Court's website at
www.arwd.uscourts.gov. Objections must be filed within 14 days of the file date of the pretrial
disclosures. Consult Fed.R.Civ.P. 26(a)(3) for the type of objections which may be made and the
type of objections which will be deemed waived if not raised.

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                In their pretrial disclosures, the parties must designate witnesses whose testimony is
expected to be presented via deposition. The parties must include a transcript of the pertinent
portions of the deposition, and the specific line designations must be highlighted. Counter-
designations and objections to the initial designations are due within 14 days of the file date of the
initial designations.
        (b)     Proposed findings of fact and conclusions of law must be exchanged by the parties
and submitted to the Court at sohinfo@arwd.uscourts.gov no later than 14 days prior to trial.
        (c)     Parties are directed to mark and exchange exhibits prior to trial, and ensure that all
other parties have copies of those exhibits.
        (d)     Parties are directed to come to trial with all exhibits properly marked, identified, and
with both witnesses and exhibits listed on form AO187 - Exhibit and Witness List, which may be
found on the Court's website at www.arwd.uscourts.gov under the category "Online Forms".
Exhibits are to be listed in numerical sequence with notations as to which exhibits, if any, will be
admitted by stipulation of the parties.    The Exhibit and Witness List must be delivered to the
courtroom deputy and the court reporter 24 hours prior to trial.
        (e)     Witnesses and exhibits not timely disclosed may not be used at trial except in
extraordinary circumstances.
        7.      Continuances:
        No continuances will be granted except for good cause shown. That a party does not have
time to depose a witness, to complete discovery, or otherwise prepare for trial will not normally be
considered good cause.
        8.      Trial Length:
        If any party anticipates the trial will take more than three (3) days, the Court should be
immediately notified by sending an e-mail to sohinfo@arwd.uscourts.gov.




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        9.      Settlement:
        (a)     In the event of settlement, the Court should be advised immediately by notifying
courtroom deputy Robin Gray or law clerks, Leslie Ligon, Clay Anthony, and Ross Simpson at (870)
862-1303.
        (b)     A case will not be removed from the trial docket until an order of disposition is
entered by the Court, and if no such order is entered by the time the matter is reached for trial, it will
be called for trial and tried or otherwise disposed.
        10.     Alternative Dispute Resolution:
        United States Magistrate Judges for the Western District of Arkansas are available to conduct
settlement conferences at the request of the litigants. These proceedings have proven to be
beneficial to the parties even if settlement is not achieved. The request should be made to the Court
no later than 30 days prior to the trial date. The parties are strongly encouraged to participate
in a settlement conference prior to the trial date.
        IT IS SO ORDERED this 9th day of March, 2022.



                                                         /s/ Susan O. Hickey
                                                         SUSAN O. HICKEY
                                                         U.S. DISTRICT JUDGE




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